      Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 1 of 31




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                Plaintiff,

    v.                                 No. 1-23-cv-01599-ABJ

BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

               Defendants.



                  DECLARATION OF JEFFREY H. HARRIS
         Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 2 of 31




       I, JEFFREY H. HARRIS, hereby declare under penalty of perjury that the following is

true and correct:


I.     Summary of Qualifications and Opinions

1.     I hold the Gary D. Cohn Goldman Sachs Chair in Finance at the Kogod School of
Business, American University. I served as the Chief Economist and Director of the Division of
Economic and Risk Analysis (“DERA”) at the U.S. Securities and Exchange Commission
(“SEC”) from 2017 to 2018. As Director of DERA, I was directly involved with litigation
support as I oversaw the Office of Litigation Economics that provided direct support to the
Division of Enforcement in providing expert economic analysis to various enforcement
initiatives. I also served as the Chief Economist at the U.S. Commodity Futures Trading
Commission from 2007 to 2010. I am also a Fellow of Law and Economics of Capital Markets
Program at Columbia University. Section II below addresses my full professional background
and my CV is attached as Appendix A.
2.     I have been retained by Binance Holdings Limited (“BHL”) for the purpose of explaining
certain concepts that the Securities and Exchange Commission (“SEC”) is relying on in its
Emergency Motion for a Temporary Restraining Order (the “TRO”) in furtherance of the relief
that it seeks. Specifically, I have been asked to opine, from my perspective as a former Chief
Economist at the SEC, on the economic risks that are typically present prior to the SEC filing
potentially disruptive regulatory actions, and how my experiences apply to the facts and
circumstances leading up to the TRO.
3.     My opinions are as follows:
           a. Based on my review of the SEC’s TRO papers, I have not seen evidence of
               imminent risk posed by Binance or Binance.US to crypto market participants in
               the United States. The SEC does not point to any new evidence or new market
               commentary in the months leading up to the SEC’s TRO which suggests any
               newly uncovered imminent risks to crypto market participants in the United
               States. In my experience, potentially disruptive regulatory actions, such as the
         Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 3 of 31




               emergency relief sought by the SEC, are extreme measures reserved only for
               situations where the imminent risks to customers outweigh the risk of market
               disruption. In this case, the risks of market disruption are heightened by the
               emergency relief sought by the SEC.
           b. There is a robust set of academic literature that shows regulatory uncertainty can
               have adverse effects on market participants. The emergency relief sought by the
               SEC could create regulatory uncertainty in the global and US crypto asset
               markets.
           c. In support of its request for emergency relief in this matter, the SEC has not
               offered market commentary or an economic analysis. In this regard, it appears
               that a comprehensive assessment of the costs and benefits of the proposed remedy
               has been completely ignored or not considered by the SEC.
4.     A list of the materials I relied upon in preparing this report is attached as Appendix B.
My work in this matter is ongoing, and I reserve the right to supplement my opinions in the event
that additional information is provided to me or submitted in connection with this matter.
5.     The analyses and opinions expressed in this report are my own. I am compensated for
my time and services in this matter at my regular hourly rate of $1,200. I am assisted in this
matter by staff of Cornerstone Research, who work under my direction. Neither my
compensation in this matter nor my compensation from Cornerstone Research is in any way
contingent or based on the content of my opinions or the outcome of this or any other matter.
           Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 4 of 31




II.       Qualifications

6.        In addition to the qualifications noted in Paragraph 1 of this Declaration, I have
previously held faculty appointments as the Dean’s Chair in Finance at the Whitman School of
Management at Syracuse University, and as the Collins Chair of Finance in the Cox School of
Business at Southern Methodist University (visiting). Since receiving my Ph.D. in Business
Administration (Finance) from the Ohio State University in 1995, I have taught at the Ohio State
University, University of Notre Dame, University of Delaware, Southern Methodist University,
Syracuse University, and American University.
7.        I am a member of American Finance Association, Financial Management Association,
Southern Finance Association, and Western Finance Association. I served as the Copy Editor at
the Journal of Finance (one of the top three journals in the field of financial economics) from
1992 to 1993. I have served on the FINRA Economic Advisory Board since 2017. Before that, I
have been a member of Eris Exchange’s Board from 2011 to 2017 and Southern Finance
Association’s Board from 2010 to 2014. I was recognized as “Prominent Faculty” in 2008,
2009, 2010, and 2012 at the Business Week Rankings of Undergraduate Business Schools.
8.        I have published more than 25 studies in finance and economics journals, including the
Journal of Finance, the Journal of Financial Economics, the Review of Financial Studies, the
Energy Journal, European Financial Management, Financial Management, The Financial
Review, the Journal of Investment Management, the Journal of Financial and Quantitative
Analysis, the Journal of Futures Markets, and the Review of Futures Markets. I was editor of the
book “Commodities: Markets, Performance and Strategies”, and authored chapters and articles in
various books, including “Commodities: An Overview”, “The Changing Structure of Energy
Futures Markets”, “Equity Market Derivatives”, and “Tick Size, Market Structure and Trading
Costs”.
9.        I served as Advisor to Lerner Finance Club (MBA) from 2005 to 2007 and to Whitman
Financial Management Association from 2011 to 2013. I also served as Track Chair at Financial
Management Association in 2002, at Midwest Financial Management Association in 2003, and
at Eastern Finance Association in 2018. My CV is attached as Exhibit A.
          Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 5 of 31




III.    Binance Plays a Large and Important Role in the Global Crypto Economy

10.     Binance was launched in June 2017 and has become the largest digital asset trading
platform, with more than 350 listed cryptocurrencies and 140 million registered users. 1 By many
reports, more than 40% of all cryptocurrency trading in the world takes place on Binance’s
platforms. At certain points in time, Binance has held an even larger market share and has
accounted for well over 50% of all crypto trading. 2
11.     Binance.US was launched in September 2019 through a licensing arrangement with
Binance Holdings Limited, which operates the global platform Binance. 3 According to its
financial statements, the revenues of Binance.US are primarily driven by transaction fees on
purchases and sales of digital assets. 4
12.      Binance.US is one of the largest digital asset trading platforms in the United States. As
of February 2023, Binance.US served more than half a million US customers with a daily
transaction volume of over $100 million. 5
13.     It is my understanding that Binance is affiliated with two crypto assets that are important
to the crypto ecosystem, BNB and BUSD:
             a. BNB is the native cryptocurrency of BNB Chain, a blockchain that was originally
                 initiated by Binance. 6 BNB can be used to pay for goods and services, settle


1
  Ex. BH-63, https://www.binance.com/en, accessed on 6/11/23. Citations to “Ex. BH-__” are to the Declaration of
Mary Beth Maloney in Support of the Joint Memorandum of Law on Behalf of Defendants Binance Holdings
Limited and Changpeng Zhao in Opposition to Plaintiff’s Emergency Motion for a Temporary Restraining Order
(“Maloney Decl.”).
2
 Ex. BH-94, “February 2023 Exchange Review,” Cryptocompare, p.3,
https://www.cryptocompare.com/media/44051283/feb_exchange-review-vf.pdf, accessed on 6/11/23.
3
 TRO Exhibit A-75, BAM Management US Holdings Inc., Financial Statements as of December 31, 2019,
BTS00031479, p.7.
4
 TRO Exhibit A-75, BAM Management US Holdings Inc., Financial Statements as of December 31, 2019,
BTS00031479, p. 8.
5
 Ex. BH-95, “Potential Impact of CFTC’s Lawsuit on Binance.US Users,” CoinGecko,
https://www.coingecko.com/research/publications/binance-us-monthly-users, accessed on 6/8/23.
6
 In particular, “BNB powers the BNB Chain ecosystem and is the native coin of the BNB Beacon Chain and BNB
Smart Chain.” Ex. BH-89, “What is BNB?,” Binance, https://www.binance.com/en/bnb; “What is BNB?,” Binance
Academy, https://academy.binance.com/en/articles/what-is-bnb. Ex. BH-90, “Binance and BNB Chain: What’s the
(continued…)
            Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 6 of 31




                   transaction fees on BNB Smart Chain, and participate in token sales, among other
                   things. 7 BNB is now the fourth largest crypto asset in the world by market
                   capitalization, behind Bitcoin (BTC), Ethereum (ETH), and Tether (USDT). 8
               b. BUSD is a collateralized stablecoin founded by Binance and issued by Paxos. 9
                   Stablecoins are a critical part of the cryptocurrency landscape, bridging the worlds
                   of cryptocurrency and everyday fiat currency, and facilitating transfers across
                   exchanges. 10 To support the coin, 1:1 reserves are held in US dollars equal to the
                   amount of BUSD in circulation. There are about 4.8 billion BUSD in circulation
                   and BUSD is used in over 1.5 billion transactions every day. 11
IV.       The SEC Does Not Show Any Imminent Risk Posed by Binance or Binance.US to
          Crypto Market Participants in the United States

14.       In my experience as Chief Economist for the SEC and CFTC, I regularly conferred and
interfaced with enforcement attorneys to assess the economic pros and cons of bringing a variety
of enforcement cases. In this capacity, I was regularly asked to offer my expert judgment as to
the merits and risks of bringing potential enforcement cases to the court of public opinion. As
Director of DERA, I was directly involved with litigation support as I oversaw the Office of
Litigation Economics which provided direct support to the Division of Enforcement including
expert economic analysis in connection with various enforcement initiatives.
15.       As Chief Economist, I was generally responsible for overseeing staff that conducted
rigorous economic analyses to inform enforcement staff about the economic pros and cons of


Difference?,” Binance, https://www.binance.com/en/blog/ecosystem/binance-and-bnb-chain-whats-the-difference-
6186229776062522437
7
 Ex. BH-89, “What is BNB?,” Binance, https://www.binance.com/en/bnb; “What is BNB?,” Binance Academy,
https://academy.binance.com/en/articles/what-is-bnb.
8
    Ex. BH-60, Coinmarketcap.com, accessed on 6/12/23.
9
 Ex. BH-92, “BUSD: All You Need To Know About the Stablecoin,” Binance,
https://www.binance.com/en/blog/futures/busd-all-you-need-to-know-about-the-stablecoin-421499824684903051,
accessed on 6/8/23.
10
  Ex. BH-91, “The stable in stablecoins,” The Federal Reserve, https://www.federalreserve.gov/econres/notes/feds-
notes/the-stable-in-stablecoins-20221216.html, accessed on 6/8/23.
11
  Ex. BH-93, “Binance USD,” CoinMarketCap, https://coinmarketcap.com/currencies/binance-usd/, accessed on
6/8/23.
         Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 7 of 31




prospective actions. Part of these analyses involved assessing whether there was an imminent
risk to market participants that could justify the potential negative impact of a prospective
enforcement action. I was typically involved in these assessments prior to bringing major
enforcement actions.
16.    This economic analysis was robust. It would include a comprehensive and thorough
assessment of the costs and benefits associated with the proposed regulatory approach and
remedy for the perceived problem at hand, guided by the economic expertise of PhD-
credentialed staff. Generally, these cost-benefit analyses would be based on the rules and
regulations set forth in guidelines so that identifiable and specific risks (and benefits) might be
highlighted and potentially quantified.
17.    From an economic perspective, a regulatory response to any market disruption or
expected market disruption should be proportional to the potential disruption or expected
disruption. In this particular matter, the SEC’s request for a TRO has not identified any new,
imminent risks posed by Binance or Binance.US to US crypto market participants. In support
of its requested relief, it has not offered market commentary or an economic analysis. In this
regard, it appears that a comprehensive assessment of the costs and benefits of the proposed
remedy has been completely ignored or not considered by the SEC.
18.    For a high profile market participant, especially one like Binance that is prominent within
its market, one would expect certain market indicia to signal some change in market perception
that could point to an imminent risk to its users or counterparties. For example, before its
bankruptcy in 2008, credit default swap (“CDS”) spreads for Lehman Brothers increased
significantly, signaling a substantial change in the market’s perception of its risk. CDS spreads
are a measure of the market’s expected probability of default for a given entity. The SEC has
presented no analysis of any such indicia in this case.
19.    In fact, market data from Binance does not appear to reveal an obvious crisis. As an
illustrative example, Figure 1 plots a daily price chart for the BNB token (described above) from
June 2022 to June 2023. The closing price for BNB on June 4, 2023, was $305.00, up from
$244.30 at the beginning of the year. While the BNB price has experienced fluctuations due to
various events, it appears to have held its value through a number of recent negative events,
including, for example, the FTX bankruptcy on November 11, 2022, the Silicon Valley Bank
            Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 8 of 31




bankruptcy on March 10, 2023, and the filing of the CFTC lawsuit against Binance on March 26,
2023. 12
                           Figure 1: BNB Daily Close Price 6/1/22 – 6/9/23




Source: Cryptocompare API
Note: The figure plots the BNB close price for the Crypto Coin Comparison Aggregated (CCCAGG) Index. Droplines
correspond to the following events: 11/11/22 FTX bankruptcy, 2/13/23 Paxos’ announcement that it will no longer
issue new BUSD, 3/10/23 Silicon Valley Bank bankruptcy, 3/27/23 CFTC lawsuit against Binance, 6/5/23 SEC lawsuit
against Binance and BAM.

20.        Figure 2 zooms in on the more recent period after the CFTC filed its lawsuit on March
26, 2023. As shown, the graph does not show any persistent price declines. The largest price
decline is for 6% on April 19, 2023, occurring more than a month before the SEC filed its suits
on June 5, 2023, and the price rebounds a few days later. Moreover, daily market volatility
appears to remain relatively stable as well. Thus, the SEC has not explained what has recently
changed with respect to the value of crypto to users on the Binance platform that justifies the
imminent need for a TRO.




12
  At a high level, these price trends appear broadly consistent for BTC and ETH, the only two crypto assets that
have higher global trading volume than BNB.
          Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 9 of 31




                           Figure 2: BNB Daily Close Price 3/1/23 – 6/9/23




Source: Cryptocompare API
Note: The figure plots the BNB close price for the Crypto Coin Comparison Aggregated (CCCAGG) Index. Droplines
correspond to the following events: 3/10/23 Silicon Valley Bank bankruptcy, 3/27/23 CFTC lawsuit against Binance,
6/5/23 SEC lawsuit against Binance and BAM.

21.     From an economic perspective, the lack of an imminent risk or crisis would weigh in
favor of a more measured approach to a remedy for a perceived problem rather than the extreme
measures currently proposed by the SEC. It would also set a precedent for the SEC taking
extraordinary actions that depart from the care and economic rigor that governed its approach
during my tenure as Chief Economist and over its long history.


V.      Extreme Regulatory Measures Signal Regulatory Uncertainty Which Can
        Negatively Impact the Entire Crypto Economy

22.     In my experience as Chief Economist for the SEC and CFTC, before taking regulatory
actions we were careful to perform rigorous economic analysis and careful to avoid outsized
regulatory reactions. This is because it was well understood that regulatory uncertainty could
have adverse effects on market participants. In this case, the TRO appears to have exacerbated
just the kind of market-wide regulatory uncertainty we generally tried to avoid:
            Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 10 of 31




               a. On June 8, 2023, The Economist ran an article entitled “Regulators put the future
                    of America’s crypto industry in doubt,” in which they concluded that “[a]bsent
                    legislation or friendlier regulators, the lawsuits place the fate of America’s crypto
                    industry in judicial hands.” 13
               b. On June 9, 2023, online retail trading platform Robinhood announced it would be
                    delisting three crypto tokens that the SEC asserts as unregistered securities in this
                    litigation. 14 According to a Robinhood spokesperson: “This introduced a cloud
                    of uncertainty around these assets and, as a result, our team has decided to end
                    support for them.” 15
               c. On the same day, Crypto.com announced it would be shutting down its
                    institutional exchange service for US customers “due to limited demand from
                    institutions in the U.S. in the current market landscape.” 16
23.        From my understanding of the academic literature, the uncertainty of these legal
outcomes could have a negative impact on the whole crypto economy. Academic studies have
extensively investigated the economic impact of regulatory and policy uncertainty. The literature
analyzes the impact of uncertainty on the decisions of households and firms, among other things,
and generally shows that higher uncertainty is related to a decline in spending and investment,
thereby hampering economic activity. For instance,
               a. Gulen and Ion (2016) find a “strong negative relationship between firm capital
                    investments and the aggregate level of uncertainty associated with future policy
                    and regulatory outcomes” and argue their results support the notion that




13
     Ex. BH-81, “Regulators put the future of America’s crypto industry in doubt.” The Economist, June 8, 2023.
14
  Ex. BH-96, “Cardano (ADA), Polygon (MATIC), Solana (SOL) Update,” Robinhood,
https://robinhood.com/us/en/support/articles/cardano-polygon-solana-update/ accessed on 6/11/23.
15 Ex. BH-97, “Robinhood moves to cut support for Cardano, Polygon, and Solana,” Yahoo Finance,
https://finance.yahoo.com/news/robinhood-moves-cut-support-cardano-142427041.html accessed on 6/12/23.
16
  Ex. BH-99, “Crypto.com to suspend US institutional exchange,” Blockworks,
https://robinhood.com/us/en/support/articles/cardano-polygon-solana-update/ accessed on 6/11/23.
(continued…)
          Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 11 of 31




                 uncertainty depresses corporate investment by inducing precautionary delays due
                 to investment irreversibility. 17
             b. Market participants’ perception of regulatory instability was also found to hamper
                 new investments. Fabrizio (2013) studies investments in states that have
                 previously passed and repealed legislation to restructure the electricity industry-
                 and thereby are perceived to have instable regulatory regimes and reports
                 “perceived regulatory instability reduces new investments and undermines policy
                 goals.” 18
             c. Gissler et al. (2016) found that regulatory uncertainty also hampers new bank
                 lending and “offer suggestive evidence that banks that perceived higher regulatory
                 uncertainty (or that were more adverse to it) reduced lending more severely.” 19
24.     In a slightly different context, uncertainty regarding trade policy was also found to have a
negative impact on economic activity. Caldara et al. (2020) estimate that “uncertainty about
trade policy in 2018 only may have lowered aggregate U.S. investment by more than 1
percent.” 20 Similarly, Handley and Limao (2015) study Portugal’s accession to the European
Community and the subsequent removal of policy uncertainty regarding future EC trade policies.
They show “this uncertainty channel accounted for a large fraction of the predicted growth.” 21
25.     As discussed above the literature has identified various forms of regulatory uncertainty.
In all these cases, uncertainty induces market participants towards more precautionary behavior,
thus hampering broad economic activity. For example, Al-Thaqeb and Algharabali (2019) argue



17
  Ex. BH-82, Gulen, Huseyin, and Mihai Ion. “Policy uncertainty and corporate investment.” The Review of
Financial Studies 29.3 (2016): 523-564.
18
  Ex. BH-83, Fabrizio, Kira R. “The effect of regulatory uncertainty on investment: evidence from renewable
energy generation.” The Journal of Law, Economics, & Organization 29.4 (2013): 765-798.
19
  Ex. BH-84, Gissler, Stefan, Jeremy Oldfather, and Doriana Ruffino. “Lending on hold: Regulatory uncertainty
and bank lending standards.” Journal of Monetary Economics 81 (2016): 89-101.
20
  Ex. BH-85, Caldara, Dario, et al. “The economic effects of trade policy uncertainty.” Journal of Monetary
Economics 109 (2020): 38-59.
21
  Ex. BH-86, Handley, Kyle, and Nuno Limao. “Trade and investment under policy uncertainty: theory and firm
evidence.” American Economic Journal: Economic Policy 7.4 (2015): 189-222.
(continued…)
         Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 12 of 31




“[o]verall, the results from previous studies indicate that firms implement more conservative
policies during times of high EPU (economic policy uncertainty) when the cost of borrowing
increases” and “[t]he tools and methods used in these studies are diverse, but the results around
the world are generally consistent in their importance.” 22
26.     Given the absence of evidence put forward by the SEC showing an imminent risk posed
by Binance or Binance.US to crypto market participants in the United States, I see no economic
evidence to support an extreme measure such as the TRO.




Dated: Washington, DC
       June 12, 2023




                                                        Jeffrey H. Harris




22
  Ex. BH-87, Al-Thaqeb, Saud Asaad, and Barrak Ghanim Algharabali. “Economic policy uncertainty: A literature
review.” The Journal of Economic Asymmetries 20 (2019): e00133.
Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 13 of 31




          APPENDIX A
    Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 14 of 31




                           JEFFREY H. HARRIS
3941 Livingston St. NW
Washington, DC 20015
jeffreyhharris@gmail.com

Education
Ph.D., Business Administration, Finance. The Ohio State University, 1995

M.B.A., Finance. The University of Iowa, 1987

B.A., Physics. Economics Minor. The University of Iowa, 1986
                               Attended Luther College, 1982-84

Employment History
American University, Gary Cohn Goldman Sachs Chair in Finance, 2013-Present
                     Finance and Real Estate Department Chair, 2014-2022

Syracuse University, Dean's Chair in Finance, 2011-2013

Southern Methodist University, James M. Collins Chair (Visiting), 2010-11

University of Delaware, Professor, 2006-11
                        Associate Professor, 2003-06
                        Assistant Professor, 2001-03

University of Notre Dame, Assistant Professor, 1995-2001

The Ohio State University, Visiting Assistant Professor, 1995-97

U.S. Securities and Exchange Commission,
       Director, Division of Economic and Risk Analysis and Chief Economist, 2017-18
       Visiting Academic Scholar, 1999-2000

U.S. Commodity Futures Trading Commission, Chief Economist, 2007-10
                                           Visiting Academic/Consultant, 2006-07

Nasdaq Department of Economic Research, Visiting Academic Fellow, 2000-01




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    Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 15 of 31




Professional Activities
Testimony before Congress
     “The Role of Speculative Investments in Energy Markets” before the United States
       Senate Subcommittee on Energy and Natural Resources, September 16, 2008.

     “Financial Speculation in Commodity Markets: Are Institutional Investors and
       Hedge Funds Contributing to Food and Energy Price Inflation?” before the United
       States Senate Committee on Homeland Security and Governmental Affairs, May
       20, 2008.

     “The Influence of Speculative Traders in Commodity Markets” before the United
       States House of Representatives Agriculture Committee, May 15, 2008.

     “The Influence of Non-commercial Institutional Investors on Oil Prices” before the
       United States Senate Committee on Energy and Natural Resources, April 3, 2008.

Testimony before the Commodity Futures Trading Commission
     “Price Discovery in Natural Gas Markets” before the United States Commodity
     Futures Trading Commission Hearing to Examine Trading on Regulated
     Exchanges and Exempt Commercial Markets, September 18, 2007.

     "Price Convergence in Agricultural Markets" before the United States Commodity
     Futures Trading Commission Agricultural Markets Roundtable, April 22, 2008.

     "On Position Limits" before the United States Commodity Futures Trading
     Commission Open Meeting Regarding Proposed Position Limits Rule, January
     14, 2010.

Expert Reports and Testimony*
    In re: United States Securities and Exchange Commission v. Moises Saba Masri
      and Albert Meyer Sutton
    In re: Sycamore Networks, Inc. Initial Public Offering Securities Litigation
    In re: United States v. Sergey Aleynikov
    In re: United States v. George Holley
    In re: Qimonda Richmond, LLC, et al. Debtors, Chapter 11
    In re: U.S. Commodity Futures Trading Commission v. Donald A. Newell and
       Quiddity, LLC
    In re: European Commission Statement of Objections addressed to Bank of
       America Corporation, Bank of America NA and Bank of America Securities
    In re: National Australia Bank Ltd. and TSL (USA) Inc. v. Goldman, Sachs &
       Co.
    In re: United States Commodity Futures Trading Commission v. Donald R. Wilson,
        Jr. and DRW Investments, LLC*
    In re: United States Commodity Futures Trading Commission v. William Byrnes,
     Christopher Curtin and the New York Mercantile Exchange, Inc.

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     Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 16 of 31




      In re: U.S. Federal Trade Commission v. On-line Trading Academy
      In re: Harry Ploss et al. v Kraft Foods Group, Inc. and Mondelēz Global LLC
      In re: Eton Park Capital Management, L.P., Eton Park Master Fund, Ltd., and Eton
       Park Fund, L.P. v Argentine Republic and YPF S.A.
      In re: California Gasoline Spot Market Antitrust Litigation
      In re: May 26, 2021 US Treasury Bond June-September Spreads

 Keynote Address,
 “The State of the Economy: Current Trends and Commercial Real Estate” at the
        International Council of Shopping Centers Mid-Atlantic Meeting—September
        2022.
 “Financial Markets and Systemic Risk” at the 7th International Conference on Empirical
          Issues in International Trade & Finance, Indian Institute of Foreign Trade—
          December 2021.
 “Economic Analysis in U.S. Financial Markets” at the 557th Meeting of the Worcester
        Economic Club—April 2019.
“Economic Analysis and the SEC” at the 2018 Baltimore Area Finance Association and
        2018 Eastern Finance Association Annual Meeting.
“Regulation and Financial Markets: A Look Ahead” at the 2017 Providence College
        Investment Forecast Forum.
 “Energy Markets: A View from Inside the Beltway” at the 2016 Oklahoma Bankers Chair
        and Center for Financial Studies Annual Meeting.
 “Index Trading and Speculation in Commodity Futures Markets” at the 2011 InVivo Paris
        Conference on Speculation in Agriculture Markets.
 “Energy Markets and Dodd-Frank: Where are we now?” at the 2012 Fulbright
         Jaworski/Cornerstone Research conference on Dodd-Frank’s Impact on the
        Energy Markets.
 “Financial Trading, Energy Markets and Dodd-Frank” at the 2012 Oklahoma State
        MSQFE Alumni Weekend.

Panelist,
“Economic Analysis and the SEC” at the IOSCO International Regulator Panel, Boston,
       MA 2017.
“The Forecast for Investments in 2017” at the Providence College Investment Forecast
       Forum, Providence, RI 2017.
“Presidential Election Impact on the Business Landscape” at the Kogod School of
       Business, Washington, DC 2016.
“The Financial Crisis’s Five-Year Mark: What Has Changed?" panel at American
       University, Washington, DC 2013.
"Current Events in Commodity Markets" panel at the CME Group 2nd Annual Global
       Commodity Investment Roundtable, New York 2013.
“Financial Trading, Derivative Markets and Commodities” presentation on “Interaction
       between Physical and Financial Commodity Markets—A Role for Regulators”
       panel at the Luxembourg IOSCO Member Meetings, Luxembourg 2013.
“Commodity Market Regulation: Achieving Transparency while Maintaining

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    Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 17 of 31




        Liquidity” panel at the Global Grain Conference, Chicago 2013.
“IPOs and the JOBS Act” panel at the U.S. Securities and Exchange Commission 2013.
"Dodd-Frank and Commodity Markets" panel at the Terrapinn World Commodities
        Week, London 2011.
"Oil Prices--Rising Prices, Speculation and Regulation" panel at the Standard Chartered
        Bank Hong Kong Earth Resource Conference, 2011.
"The Regulatory World of Market Manipulation" panel at the American Bar Association
        Antitrust and Consumer Law Issues in the Energy Industry Conference, Houston
        2011.
"Commodity Super-cycles" panel at Standard Chartered Bank New York Symposium,
        New York 2011.
"Assessing Dodd-Frank" panel on current financial regulation, National Association of
        Business Economists, Washington, DC 2010.
“What's Next?" panel on post-crisis regulation, Georgetown University, 2010.
"Sovereign CDS Markets" discussion panel at Georgetown University, 2010.

Publications
“Non-Standard Errors” with Shawn Mankad and 341 other authors. Journal of Finance,
forthcoming.

“The Urgency to Borrow in the Interbank Market” with Celso Brunetti and Shawn
Mankad, 2022, Economics Letters 221.

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Econometrics Journal 20, S126–S149.

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Büyükşahin, 2016, Journal of Financial and Quantitative Analysis 51, 1545‒1574.

“Informed Trading and Market Structure” with Charlie X. Cai, Robert S. Hudson and
Kevin Keasey, 2015, European Financial Management 21, 148-177.

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and Christophe Pérignon, 2011, Review of Futures Markets 19, 39-54.

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Energy Journal 32, 167-202.

“Why to Maturing Futures and Cash Prices Diverge for Grain Markets?” with Nicole
Aulerich and Raymond P.H. Fishe, 2011, Journal of Futures Markets 31, 503-533.

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and Selim Topaloglu, 2007, Journal of Financial Economics 85, 518-551.

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Patrick DeFontnouvelle and Raymond P.H. Fishe, 2005, Journal of Investment
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Corwin and Marc L. Lipson, 2004, Journal of Finance 59, 2339-2374, Awarded
Outstanding Paper in Financial Institutions at the 2002 Southern Finance Association
Meeting.

“The Dynamics of Institutional and Individual Trading” with John M. Griffin and Selim
Topaloglu, 2003, Journal of Finance 58, 2285-2320. Nominated for the Smith-Breeden
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Competition for Listings in 1999” with Patrick DeFontnouvelle and Raymond P.H. Fishe,
2003, Journal of Finance 58, 2437-2463. Nominated for the Smith-Breeden Prize.

“Nasdaq Trading Halts: The Impact of Market Mechanisms on Prices, Trading Activity
and Execution Costs” with William G. Christie and Shane A. Corwin, 2002, Journal of
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Barclay, William G. Christie, Eugene Kandel, and Paul H. Schultz, 1999, Journal of
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SOES Rules Change” with Paul H. Schultz, 1997, Journal of Financial Economics 45,
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Schultz and William G. Christie, 1994, Journal of Finance 49, 1841-1860.

Edited Book
“Commodities: Markets, Performance and Strategies” with H. Kent Baker and Greg
Filbeck, editors, 2018, Oxford University Press.

Book Chapters/Articles in Books
“Commodities: An Overview” with H. Kent Baker and Greg Filbeck, 2018, in
Commodities: Markets, Performance, and Strategies, 3-18, Oxford University Press.

“The Changing Structure of Energy Futures Markets” with Bahattin Büyükşahin, Michael
S. Haigh, James A. Overdahl and Michel A. Robe, 2009, in Finance et Valeurs, A.
Corhay, G. Hubner and A. Miller, editors, ULg Press, Belgium.

“Equity Derivatives” with L. Mick Swartz, 2009, in Financial Derivatives: Pricing and
Risk Management (Robert W. Kolb Series in Finance),103-113, Bob Kolb and Jim
Overdahl, editors, John Wiley and Sons, Inc.

“Tick Size, Market Structure and Trading Costs” with William G. Christie and Eugene
Kandel, 2008, in Stock Market Liquidity: Implications for Market Microstructure and


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Sons, Inc., 173-197.




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    Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 21 of 31




Working Papers
“Bayesian Semi-Non-Negative Matrix Factorization: A Technique for Estimating Bank
Holdings and Systemic Risk” (formerly titled “Estimating Bank Holdings and Contagion
Risk with Bayesian Matrix Techniques”) with Celso Brunetti and Shawn Mankad.

“Liquidity Networks, Interconnectedness, and Interbank Information Asymmetry” with
Celso Brunetti and Shawn Mankad.

“Modeling the Role of Networks in Loan Syndicate Markets” with Ioannis Spyridopoulos
and Morad Zekhnini.

“Loan Syndication Networks” with Edwin Hu and Ioannis Spyridopoulos.

“The Ratio of Option Open Interest-to-Stock Outstanding” with Celso Brunetti and
Michael Shafer.

“Option Open Interest around Seasoned Equity Offerings” with Michael Shafer.

“Crude Oil Price Movements and Institutional Traders” with Celso Brunetti and Bahattin
Büyükşahin.

“Funding Constraints and Liquidity Contagion in U.S. Equity and Treasury Markets” with
Christof W. Stahel.

“Fundamentals, Trader Activity and Derivative Pricing” with Bahattin Büyükşahin,
Michael S. Haigh, James A. Overdahl and Michel A. Robe.

"Do Institutional Traders Predict Bull and Bear Markets?" with Celso Brunetti and
Bahattin Büyükşahin.

“Off but Not Gone: A Study of Nasdaq Delistings” (formerly titled “From Pink Slips to
Pink Sheets: Market Quality around Nasdaq Delisting”) with Venkatesh Panchapagesan
and Ingrid M. Werner.

“Stepping Ahead of the Book” with Amy K. Edwards.

“Liquidity Risk, Investor Flux and Post-Earnings Announcement Drift” with Kirsten L.
Anderson and Eric So.

“Investor Behavior Surrounding Earnings Announcements” with Kirsten L. Anderson and
Selim Topaloglu.

Work-In-Progress
“Inferring Bank Portfolios with Balance Sheet Driven Matrix Factorization” with Celso
Brunetti and Shawn P. Mankad

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    Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 22 of 31




“Price Discovery in Crude Oil Futures Markets” with Bahattin Büyükşahin.

“The Long and Short of Dealer Profits” with Jay F. Coughenour.

Teaching Experience
Managerial Economics (MBA), 2015
Seminar, Empirical Finance (PhD), 2012
Theory of Finance (MSF), 2013, 2017
Introductory Managerial Finance (MBA), 2013, 2021-22
Investment Analysis (MBA), 2001-04, 2006, 2018
Portfolio Theory (MBA), 2010, 2012
Derivative Investments (MBA), 1996-97, 2005, 2010, 2012-13
Management of Financial Institutions (MBA), 1995-97
Risk Management (MSF/Undergrad), 2020-21
Student Managed Investment Fund (MSF/Undergrad), 2013-14
Options, Futures and Other Derivatives, 1994-97, 2005, 2012-13
Investments, 2001-06, 2010
Speculative Markets, 2010
Introductory Managerial Finance, 1997-99
Financial Institutions Management, 1997

Presentations
“Bank Holdings and Systemic Risk”
Presented at American University, Auburn University, Federal Reserve Bank of Boston,
the U.S. SEC, and Worcester Polytechnic University.

“Loan Syndication Networks”
Presented at the 2019 Financial Management Association Meeting.

“Economic Analysis and the SEC”
Presented at the Wharton School and Eastern Finance Association.

“Regulation and Financial Markets”
Presented at the High Table Seminar, Oxford-Georgetown Summer Program.

“Interconnectedness in the Interbank Market” (formerly titled “The Breakdown of the
Interbank Market during the Financial Crisis”)

Presented at Babson College, Cornell University, George Mason University, the
University of Arkansas and the University of Hull.

“Crude Oil Price Movements and Institutional Traders”
Presented at the University of Oklahoma.


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    Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 23 of 31




“Energy Markets: A View from Inside the Beltway”
Presented to the Oklahoma Bankers Chair and Center for Financial Studies.
“U.S. Monetary and Fiscal Policy”
Presented to Korean Government Delegation.

“LME and Aluminum”
Presented to the Metals Service Center Institute.

“Funding Constraints and Liquidity Contagion in U.S. Equity and Treasury Markets”
Presented at Syracuse University.

"Do Institutional Traders Predict Bull and Bear Markets?"
Presented at the New York Accounting and Finance Symposium and Syracuse University.

“Speculation, Prices and Market Volatility”
Presented at the 2014 Canadian Economics Association. the University of Mississippi and
the University of Delaware Economics Seminar.

“The Evolving Landscape for Derivative Regulation”
Presented at Fulbright Jaworski Oil and Gas Compliance Seminar, HEC Paris,
NasdaqOMX, the Universita Politecnica delle Marche, Ancona, Italy, the Vanderbilt
University Conference on Regulatory Change in the Global Financial System, at
Cornerstone Research and the Platts Oil Trading and Risk Management Forum.

"Effects of Central Bank Intervention on the Interbank Market during the Sub-Prime
Crisis"
Presented at the Universita Politecnica delle Marche, Ancona, Italy.

“Trading Networks”
Presented at American University, George Washington University, Rutgers University,
Southern Methodist University, Syracuse University, Temple University, the University
of Central Florida, the University of Missouri-Columbia, the University of Tennessee and
Villanova University.

“Improving Market Transparency”
Presented at the 2009 CFTC Symposium for International Market Authorities.

“Abusive Conduct from an Economist’s Perspective”
Presented at the 2009 CFTC Division of Enforcement International Regulators
Conference.

“The Role of Speculators in the Crude Oil Futures Markets”
Presented at the NYSE/Euronext Amsterdam & Tinbergen Institute Workshop on
Liquidity and Volatility in Today’s Markets and the 2009 International Association of
Energy Economists International Conference.

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    Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 24 of 31




“Index Trading and Speculation in Commodity Futures Markets”
Presented at the CFTC Agricultural Forum, the American Agricultural Economics
Association Meeting, the Mid-Atlantic Farm Credit Board of Directors annual meeting,
the Council on Food, Agriculture and Resource Economics, the Washington Area Finance
Association, the U.S.-India Financial and Economic Forum, the U.S. Department of State
Bureau of Economic and Business Affairs, the 2008 CFTC Symposium for International
Market Authorities, the USDA/World Bank Food Panel, the 2008 IOSCO Conference on
Speculation and Volatility in Commodity Markets, the Canadian Securities
Administration, the Energy Information Administration (Department of Energy), the 2009
NCCC-134 Meeting on Applied Commodity Price Analysis, Forecasting and Market Risk
Management, the Kansas City Federal Reserve Panel on Agricultural Finance, the 2009
EIA Energy Conference, the American Petroleum Institute, the 2009 FIA Legal and
Compliance Conference, HEC Paris, the 2009 Canadian Economics Association meeting
and the 2011 InVivo Paris Conference on Speculation in Agriculture Markets.

“Increasing Internationalization of the Financial Markets”
Presented at the Chatham House, London

“Index Funds and Data Dissemination in Crude Oil Markets”
Presented at the 2008 International Energy Agency Expert Roundtable on Oil Price
Formation and to the U. S. CFTC Energy Markets Advisory Committee.

“The Impact of Herding on Futures Market Prices”
Presented at the 2007 CFTC Symposium for International Market Authorities.

“Price Discovery in U.S. Natural Gas Futures Markets”
Presented to the U.S. CFTC.

“Market Growth, Trader Participation and Pricing in Energy Futures Markets”
Presented at the Arizona State University, the 2007 MIT Center for Energy and
Environmental Policy Research Conference and Johns Hopkins University.

“Liquidity Risk, Investor Flux and Post-Earnings Announcement Drift”
Presented at the University of Toronto and the University of Arizona.

“The Sound of Silence”
Presented at the U.S. CFTC and University of Delaware Brown Bag seminar series.

“Off but Not Gone: A Study of Nasdaq Delistings” (formerly titled “From Pink Slips to
Pink Sheets: Market Quality around Nasdaq Delisting”)
Presented at the University of Delaware, George Mason University and George
Washington University.

“Why are IPO Investors Net Buyers through Lead Underwriters?”

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    Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 25 of 31




Presented at American University, Case Western Reserve University, Drexel University,
the University of Missouri—Columbia, Morgan State University and Temple University.
“Investor Behavior Surrounding Earnings Announcements”
Presented at the University of Delaware Brown Bag seminar series.

“Trading Behavior around the Rise and Fall of Nasdaq”
Presented at the University of Maryland and the University of Connecticut.

“The Effect of Decimals on Nasdaq Retail Trading”
Presented at the University of Delaware and 2002 Eastern Finance Association Meeting.

“The Development of Secondary Market Liquidity for NYSE-Listed IPOs”
Presented at Nasdaq, 2001 Financial Management Association Annual Meeting, 2002
Southern Finance Association Meeting, the University of Miami and the University of
Delaware.

“Competition for Market Making in NYSE IPOs”
Presented at Nasdaq.

“Nasdaq Trading Halts: The Impact of Market Mechanisms on Prices, Trading Activity
and Execution”
Presented at the 2000 Western Finance Association Annual Meeting, 2000 NBER
Microstructure Conference, 2000 Financial Management Association Annual Meeting,
Penn State University, the Nasdaq Stock Market, George Washington University and
American University.

“The Initial Listing Decisions of Firms that Go Public”
Presented at the 1998 Financial Management Association Annual Meeting, the Nasdaq
Stock Market, Syracuse University and Arizona State University.

“The Trading Profits of SOES Bandits”
Presented at the University of Georgia and the 1997 Financial Management Association
Annual Meeting.

“The Importance of Firm Quotes and Rapid Executions: Evidence from the January 1994
SOES Rules Change”
Presented at The Ohio State University, University of Notre Dame and the 1997
American Finance Association Annual Meeting.

“Cost Components of the Bid-Ask Spread: An Intraday Analysis”
Presented at the 1994 Financial Management Association Annual Meeting, University of
Arizona, University of Houston, University of Iowa, University of Miami, Michigan State
University and University of Notre Dame.

Referee,

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    Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 26 of 31




       Applied Economics, The Accounting Review, Commodities, Eastern Economic
       Journal, Empirical Economics, Energy Economics, The Energy Journal, The
       European Journal of Finance, Financial Management, Financial Review,
       International Review of Financial Analysis, Journal of Accounting and Public
       Policy, Journal of Banking and Finance, Journal of Behavioral and Experimental
       Finance, Journal of Business, Journal of Corporate Finance, The Journal of
       Economics and Business, Journal of Finance, Journal of Financial and
       Quantitative Analysis, Journal of Financial Economics, Journal of Financial
       Markets, Journal of Futures Markets, Journal of Money, Credit and Banking,
       Nature Energy, North American Journal of Economics and Finance, The
       Quarterly Review of Economics and Finance, Review of Financial Studies, and
       Sustainability.

Boards,
       FINRA Economic Advisory Board, 2017-Present
       Editorial Advisory Board, Journal of Risk Management, 2014-Present
       Editorial Board, Commodities, 2022-Present
       Eris Exchange, 2011-2017
       Southern Finance Association, 2010-2013

Track Chair,
       Markets and Microstructure, Financial Management Association 2002
       Markets and Microstructure, Midwest Financial Management Association 2003
       Derivatives/Other, Eastern Finance Association 2018

Conference Organizer,
       Sovereign Wealth Funds (American University) 2014-21

Program Committee,
      Asia/Pacific Financial Management Association 2013-16
      Asian Finance Association 2016-18
      European Finance Association 2006-11, 2014-20, 2023
      Financial Management Association 2002-10
      Midwest Finance Association 2014-16
      Southern Finance Association 2008
      Western Finance Association 2003-11, 2013-19

Session Chair,
       Chicago Financial Institutions Conference 2017-19
       Finance Down Under 2016
       Financial Management Association 2002, 2004-05
       Southern Finance Association 2000, 2002, 2008
       Eastern Finance Association 2002, 2018

Discussant,

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    Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 27 of 31




       Allied Social Sciences Association 2007
       Canadian Economics Association 2014
       Finance Down Under 2013-15, 2017
       Financial Management Association 1996-97, 1999-2002, 2004-06, 2019
       Notre Dame/Nasdaq Dealer Market Conferences 1999-2000
       Ohio State Conference on Dealer Markets 1996
       SEC Third Annual Conference on Financial Market Regulation, 2016
       Southern Finance Association 2000, 2002, 2008
       Stanford Program on Energy and Sustainable Development, 2014
       Western Finance Association 2001, 2004
       Washington Area Finance Association 2000, 2002, 2004

Member,
     American Finance Association
     Financial Management Association
     Southern Finance Association
     Western Finance Association

Advisor,
      Lerner Finance Club (MBA) 2005-07
      Syracuse Financial Management Association 2011-13

Other Work Experience
Copy Editor, Journal of Finance, 1992-93
MBA Advisor/Graduate Admissions Coordinator, University of Iowa College of Business
Administration, 1988-1991
Executive Trainee/Distributor, MAY Corporation Venture Stores Division, 1988

Honors and Awards
Columbia University
       Fellow, Law and Economics of Capital Markets Program, 2018-Present
       Steering Committee, The New Special Study of the Securities Markets, 2018-
       Present
Kogod Faculty Award for Outstanding Research, 2016, 2017, 2019
Kogod Faculty Award for Outstanding Teaching, 2016
Kogod Faculty Award for Outstanding Service, 2016
Lerner College Outstanding Scholar Award, University of Delaware, 2008
Research Grants,
       Institute for Financial Markets, 2010
       Lerner College of Business and Economics, 2004, 2007
       University of Delaware General University Research Grant, 2006
       University of Delaware Department of Finance, 2005
       University of Notre Dame Mendoza College of Business, 1996, 1998-99

Nominated for University of Delaware Lerner College Teaching Award, 2004, 2006

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    Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 28 of 31




Nominated for University of Delaware Lerner College Advising Award, 2004
Cited as “Prominent Faculty” in 2008-10, 2012 Business Week Rankings of
       Undergraduate Business Schools
Member, Beta Gamma Sigma




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Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 29 of 31




          APPENDIX B
          Case 1:23-cv-01599-ABJ Document 45 Filed 06/12/23 Page 30 of 31




                                Jeffrey H. Harris
                               Materials Relied Upon
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            e00133.
      •     Caldara, Dario, et al. "The economic effects of trade policy uncertainty." Journal of
            Monetary Economics 109 (2020): 38-59.
      •     Fabrizio, Kira R. "The effect of regulatory uncertainty on investment: evidence from
            renewable energy generation." The Journal of Law, Economics, & Organization 29.4
            (2013): 765-798.
      •     Gissler, Stefan, Jeremy Oldfather, and Doriana Ruffino. "Lending on hold:
            Regulatory uncertainty and bank lending standards." Journal of Monetary Economics
            81 (2016): 89-101.
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            Review of Financial Studies 29.3 (2016): 523-564.
      •     Handley, Kyle, and Nuno Limao. "Trade and investment under policy uncertainty:
            theory and firm evidence." American Economic Journal: Economic Policy 7.4
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            December 31, 2019, BTS00031479.

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            June 8, 2023.
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      •     “The stable in stablecoins,” The Federal Reserve,
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            20221216.html
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            is-bnb.

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            difference-6186229776062522437.
      •     “Binance US,” CoinMarketCap, https://coinmarketcap.com/exchanges/binance-us/
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      •     “BUSD: All You Need To Know About the Stablecoin,” Binance,
            https://www.binance.com/en/blog/futures/busd-all-you-need-to-know-about-the-
            stablecoin-421499824684903051.
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      •     “Potential Impact of CFTC’s Lawsuit on Binance.US Users,” CoinGecko,
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      •     “Robinhood moves to cut support for Cardano, Polygon, and Solana,” Yahoo
            Finance, https://finance.yahoo.com/news/robinhood-moves-cut-support-cardano-
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Websites

      •     https://www.binance.com/en
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